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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

HAXANS WALDELL PALMER,                       )
    ID # 18051523,                           )
          Petitioner,                        )
vs.                                          )         No. 3:20-CV-133-K
                                             )
COURT OF APPEALS,                            )
         Respondent.                         )

         ORDER ACCEPTING FINDINGS AND RECOMMENDATION
             OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any

objections thereto, in accordance with 28 U.S.C. § 636(b)(1), the Court is of the

opinion that the Findings and Conclusions of the Magistrate Judge are correct and they

are accepted as the Findings and Conclusions of the Court. For the reasons stated in

the Findings, Conclusions, and Recommendation of the United States Magistrate

Judge, by separate judgment, the amended Application for Writ of Mandamus shall be

dismissed for lack of jurisdiction.

       Petitioner’s Objections to the Findings, Conclusions, and Recommendation of

the United States Magistrate Judge, filed on September 18, 2020, are hereby

OVERRULED.

       SO ORDERED.

       Signed September 30th, 2020.


                                         ED KINKEADE
                                         UNITED STATES DISTRICT JUDGE
